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      AO 245B         (Rev. 09/11) Judgment in a Criminal Case
                      Sheet1



                                       United States District Court
                                             Middle District of Louisiana

          UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                     v.                                                (For Offenses Committed On or After November 1, 1987)
              RODNEY D. TAYLOR                                         Case Number:    3:10CR00104-007
                                                                       USM Number:        5434-095

                                                                       Rusty M. Messer
                                                                       Defendant’s Attorney

THE DEFENDANT:
[8]     pleaded guilty to count(s): I and II of the Superceding Indictment .
[]      pleaded nolo contendere to counts(s)         which was accepted by the court.
[]      was found guilty on count(s)       after a plea of not guilty.
        The defendant is adjudicated guilty of these offenses:

                                                                                       Date Offense              Count
Title & Section                   Nature of Offense                                    Concluded                 Number(s)

 18 U.S.C. § 1349                    Conspiracy to Commit Health Care Fraud                   November 22, 2009      I
 18 U.S.C. § 371                     Conspiracy to Defraud the United States                  October 8, 2009        II
                                     and to Receive and Pay Health Care
                                     Kickbacks

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

[]      The defendant has been found not guilty on counts(s)       .

[]      Count(s)     is/are dismissed on the motion of the United States.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material changes in economic
circumstances.
                                                                                               July 24, 2012
                                                                                      Date of Imposition of Judgment



                                                                                              Signature of Judge


                                                                             JAMES J. BRADY, United States District Judge
                                                                                       Name and Title of Judge


                                                                                                 July 30, 2012
                                                                                                     Date
      USAtty
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
                   Sheet 4 - Probation
CASE NUMBER:                  3:10CR00104-007                                                                          Judgment - Page 2 of 6
DEFENDANT:                    RODNEY D. TAYLOR


                                                           PROBATION
          The defendant is hereby placed on probation for a term of five years on each of counts one and two, to be served concurrently.


The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.

[8]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check if applicable.)

[8]       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          (Check if applicable.)

[8]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
          she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                  STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
      of a felony, unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court; and
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
      criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
      confirm the defendant’s compliance with such notification requirement.
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                   Sheet 4 - Probation
CASE NUMBER:                  3:10CR00104-007                                                             Judgment - Page 3 of 6
DEFENDANT:                    RODNEY D. TAYLOR




                                     SPECIAL CONDITIONS OF SUPERVISION
The defendant shall participate in a mental health assessment and/or treatment program and shall assist in the cost of said
treatment, as approved by the probation officer.

The defendant shall provide the probation officer with access to any requested financial information.

The defendant shall not incur new credit charges or open additional lines of credit, or negotiate or consummate any
financial contracts without the approval of the probation officer.

The defendant shall submit his or her person, property, house, residence, vehicle, papers or computers (as defined in 18
U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States probation officer. Failure to submit to a search may be grounds for revocation of release. The
defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that the defendant has
violated a condition of his/her supervision and that the areas to be searched contain evidence of this violation. Any search
must be conducted at a reasonable time and in a reasonable manner.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
        Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  3:10CR00104-007                                                                                    Judgment - Page 4 of 6
DEFENDANT:                    RODNEY D. TAYLOR


                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.
                                            Assessment                    Fine               Restitution
      Totals:                                 $ 200.00                      $               $ 605,643.00




[]    The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO245C) will be
      entered after such determination.

[ ] The defendant must make restitution (including community restitution) to the following payees in the amounts listed
below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.§3664(i), all
non-federal victims must be paid before the United States is paid.

Name of Payee                                          Total Loss*               Restitution Ordered          Priority or Percentage
DHHS/CMS, Division of Accounting                                                    $605,643.00
Mail Stop C-30927
7500 Security Blvd.
Baltimore, MD 21244-1850
     TOTALS:                                       $                                 $605,643.00


[]    Restitution amount ordered pursuant to plea agreement .......... $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
      full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
      on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the                            [ ] fine                           [ ] restitution.

      [ ] The interest requirement for the [ ] fine [           ] restitution is modified as follows:




 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments
CASE NUMBER:                    RODNEY D. TAYLOR                                                                                             Judgment - Page 5 of 6
DEFENDANT:                      3:10CR00104-007


                                                    SCHEDULE OF PAYMENTS
      Having accessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     [8] Lump sum of $ 605,843.00 due immediately, balance due

             [] not later than , or
             [] in accordance     [] C, [] D, [] E, or [] F below; or

B     []     Payment to begin immediately (may be combined with [] C, [] D, or [] F below); or

C     []     Payment in equal (e.g. equal, weekly, monthly, quarterly) installments of $ over a period of                                      (e.g., months or
             years) to commence (e.g., 30 or 60 days) after the date of this judgment; or

D     []     Payment in equal (e.g. equal, weekly, monthly, quarterly) installments of $ over a period of (e.g., months or
             years) to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     []     Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at
             that time; or

F     [8] Special instructions regarding the payment of criminal monetary penalties:
          This case involves other defendants who may be held jointly and severally liable for payment of all or part of the
          restitution ordered.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary payments, except those payments made through the Federal Bureau of Prisons' Inmate Financial Responsibility
Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

      [8] Joint and Several

             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
             Several Amount, and corresponding payee, if appropriate.

             Jo A. Francis                                           CR 10-104-JJB-SCR                            $ 82,230.00
             Stephanie V. Dangerfield                                CR 10-104-JJB-SCR                            $ 82,230.00
             Mary H. Griffin                                         CR 10-104-JJB-SCR                            $ 82,230.00
             Chikenna Jones                                          CR 10-104-JJB-SCR                            $ 82,230.00
             Mary Bessie                                             CR 10-104-JJB-SCR                            $ 82,230.00
             Stephanie B. Williams                                   CR 10-104-JJB-SCR                            $197,116.00

      []     The defendant shall pay the cost of prosecution.

      []     The defendant shall pay the following court costs:

      [8] The defendant shall forfeit the defendant's interest in the following property to the United States:

             Pursuant to 18 U.S.C. § 982(a)(7), the defendant shall forfeit to the United States all property constituting and
             derived from proceeds obtained, directly and indirectly, from health care fraud activity in violation of 18 U.S.C. §
             1349, including, but not limited to, at least $605,643.00, said amount being the total of the interests acquired and


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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             the gross proceeds obtained through the violation.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
